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     18     LIVE NATION WORLDWIDE, INC. and LIVE NATION
            ENTERTAINMENT, INC.
     19
                                        UNITED STATES DISTRICT COURT
     20                                CENTRAL DISTRICT OF CALIFORNIA
     21
            ANIL GUPTA, COLIN GHARRITY, and                Case No. 2:21-cv-07081
     22     MORGAN KATZ, individually and on behalf of all
            others similarly situated,                     COLLECTIVE ACTION
     23
                   Plaintiffs,                                 STIPULATION FOR DISMISSAL AND
     24                                                        [PROPOSED] ORDER
            vs.
     25
            LIVE NATION WORLDWIDE, INC.; LIVE
     26     NATION ENTERTAINMENT, INC.; and DOES 1
            through 50, inclusive,
     27
                   Defendants.
     28


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       1           Plaintiffs Anil Gupta, Colin Gharrity, and Morgan Katz (“Plaintiffs”) and Defendants Live

       2    Nation Worldwide, Inc. and Live Nation Entertainment, Inc. (“Defendants”), through their respective

       3    undersigned counsel of record, hereby stipulate as follows:

       4           WHEREAS, Plaintiffs each opted into a Fair Labor Standards Act (“FLSA”) action originally

       5    filed in Wellinger v. Live Nation Worldwide, Inc., No. 19STCV1583 (L.A. Cnty. Super. Ct.)

       6    (“Wellinger II”) on May 2, 2019: Plaintiff Gupta joining the FLSA action on May 30, 2019, Plaintiff

       7    Gharrity joining on June 27, 2019, and Plaintiff Katz joining on September 27, 2019;

       8           WHEREAS, Mr. George Wellinger also had a related case pending in Wellinger v. Live Nation

       9    Worldwide Inc., No. 19STCV04397 (L.A. Cnty. Super. Ct.) (“Wellinger I”) filed on February 8, 2019
     10     alleging California wage and hour claims;
     11            WHEREAS, the parties in Wellinger I & II engaged in mediation on December 18, 2019 with
     12     experienced and respected mediator Hon. Jeffrey K. Winikow (Ret.) and agreed to resolve the claims
     13     of Mr. Wellinger, the putative class of California employees Mr. Wellinger sought to represent, and the
     14     individual FLSA claims of Opt-in Plaintiffs Gupta, Gharrity, and Katz;
     15            WHEREAS, as part of the global settlement agreement, Mr. Wellinger agreed to consolidate
     16     his California claims into Wellinger I and keep the FLSA claim in Wellinger II so that Wellinger II
     17     could be removed to federal court;
     18            WHEREAS, on February 19, 2020, Defendants filed a notice of removal of Wellinger II to the
     19     United States District Court for the Central District of California, Case No. 2:20-CV-1612, assigned to
     20     the Honorable Philip S. Gutierrez;
     21            WHEREAS, at the Central District Court’s direction, the parties in Wellinger II stipulated to
     22     dismiss the case without prejudice pending approval of the California class action in Wellinger I and
     23     the Court ordered the case dismissed on October 19, 2020;
     24            WHEREAS, the Los Angeles Superior Court granted final approval of the Wellinger I
     25     settlement on June 30, 2021, certifying the settlement class of “all current and former commission-
     26     based employees of Defendants or their affiliated entities in California that held the job titles of Senior
     27     Director, Director, Sales Manager, or Sales Coordinator at any time from February 8, 2015 to March
     28     30, 2020” and entered Judgment on July 7, 2021;

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       1            WHEREAS, the Plaintiffs and Defendants now seek this Court’s approval of the settlements of

       2     the individual FLSA claims of Plaintiffs Gupta, Gharrity, and Katz;

       3            WHEREAS, federal courts in the Ninth Circuit follow the Eleventh Circuit’s holding that

       4     settlements under the FLSA require the supervision of either the Secretary of Labor or the district court

       5     and are evaluated for whether the settlement constitutes “a fair and reasonable resolution of a bona fide

       6     dispute over FLSA provisions,” see Flores v. TFI Int’l, No. 12-cv-05790-JST, 2019 WL 1715180

       7     (N.D. Cal. Apr. 17, 2019) (citing Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53,

       8     1355 (11th Cir. 1982));

       9            WHEREAS, to facilitate the settlement of Plaintiffs’ FLSA claims against Defendants,
     10      Plaintiffs filed a Complaint alleging a single cause of action under the FLSA on September 2, 2021;
     11             WHEREAS, the three individual FLSA settlements represent fair resolution of a bona fide
     12      dispute over whether Plaintiffs were entitled to overtime wages, including disagreement between the
     13      parties over whether Plaintiffs were properly classified as exempt from overtime under the outside
     14      sales exemption, the administrative exemption, or the Section 7(i) overtime exemption for
     15      commissioned employees, and would have faced discovery and litigation over issues such as whether
     16      Plaintiffs performed office or non-manual work, whether Plaintiffs’ work was related to the
     17      management or general business operation of Defendants, whether Plaintiffs exercised discretion and
     18      independent judgment, whether Plaintiffs make sales or perform promotional work, and whether
     19      Plaintiffs earned more than half their compensation in commissions;
     20             WHEREAS, the parties also disagreed about the amount of overtime wages, if any, Plaintiffs
     21      are owed under the FLSA, with Plaintiffs estimating a maximum exposure based on a range of
     22      overtime hours from five to forty per week depending on the season (i.e. concert season or off-season),
     23      and a three-year limitations period and with the addition of liquidated damages based on their
     24      allegations that Defendants’ actions were willful and not taken in good faith, for an average of
     25      approximately $177,000 in total damages under the FLSA for each Plaintiff. The settlement values for
     26      each Plaintiff were also based in part on the number of workweeks each Plaintiff worked during the
     27      FLSA period, with Plaintiff Gharrity working the greatest number of workweeks, then Plaintiff Katz,
     28      and then Plaintiff Gupta;

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       1            WHEREAS, Defendants have agreed to pay the following amounts for the settlement of each

       2     Plaintiff’s FLSA claim: $22,000 to Plaintiff Gupta, $42,000 to Plaintiff Gharrity, and $32,000 to

       3     Plaintiff Katz, inclusive of Plaintiffs’ attorneys fees and costs;

       4            WHEREAS, each Plaintiff has signed a general release of claims against Defendants in

       5     exchange for their settlement payments;

       6            NOW THEREFORE, the Parties stipulate as follows:

       7            1.      The settlements of the FLSA claims of Plaintiffs Gupta, Gharrity, and Katz should be

       8     approved as fair resolutions of a bona fide dispute over the FLSA’s provisions; and

       9            2.      The above-titled action shall be dismissed with prejudice.
     10             IT IS SO STIPULATED.
     11       Dated: September 2, 2021                        Respectfully submitted,

     12                                                       GOLDSTEIN, BORGEN, DARDARIAN & HO

     13
                                                              /s/ Laura L. Ho
     14                                                       Laura L. Ho
     15                                                       Attorneys for Plaintiffs
     16       Dated: September 2, 2021                        Respectfully submitted,
     17                                                       PAUL HASTINGS LLP
     18
                                                              /s/ Chris A. Jalian
     19                                                       Chris A. Jalian
     20                                                       Attorneys for Defendants
     21
                                                 SIGNATURE ATTESTATION
     22
                    In accordance with Civil Local Rule 5-4.3.4, I attest that concurrence in the filing of this
     23
             document has been obtained from the other signatory on this e-filed document.
     24

     25      Dated: September 2, 2021                                  /s/ Laura L. Ho
                                                                       Laura L. Ho
     26

     27                                                                Attorneys for Plaintiffs

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                                            STIPULATION FOR DISMISSAL AND [PROPOSED] ORDER
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